 Case 09-43840                Doc 29         Filed 09/23/09 Entered 09/23/09 13:22:26   Desc Main
                                               Document     Page 1 of 1


                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF MINNESOTA



In re:
                                                                     ORDER FOR RULE 2004
Raed S. Kakish,                                                      EXAMINATION

                               Debtor.                               BKY 09-43840


At Minneapolis, Minnesota, September 23, 2009

                    This case is before the court on the motion of Flagship

Bank Minnesota, a Minnesota banking corporation, to allow it to

conduct an examination pursuant to Federal Rule of Bankruptcy

Procedure 2004. There were no objections to the motion.

                    Based on the file and records,

                    IT IS ORDERED:               Flagship Bank Minnesota may examine Raed

S. Kakish pursuant to Federal Rule of Bankruptcy Procedure 2004.




                                                      /e/ Robert J. Kressel
                                                       ROBERT J. KRESSEL
                                                       UNITED STATES BANKRUPTCY JUDGE




 NOTICE OF ELECTRONIC ENTRY AND
 FILING ORDER OR JUDGMENT
 Filed and Docket Entry made on 09/23/2009
 Lori Vosejpka, Clerk, by LMH
